                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                     CIVIL CASE NO. 3:17-cv-00485-MR


DANNY R. HEMBREE, JR.,      )
                            )
              Plaintiff,    )
                            )
vs.                         )                           ORDER
                            )
FNU BRANCH, et al.,         )
                            )
              Defendants.   )
___________________________ )


         THIS MATTER is before the Court sua sponte.

         In March 2020, the Honorable Frank D. Whitney, Chief United States

District Judge,1 entered an Order granting in part and denying in part the

Defendants’ motion for summary judgment. The Court granted said motion

as to all claims and all Defendants except for the Plaintiff’s excessive force

claims against Defendants Branch and Whitlock as well as the relate state

law claims. [Doc. 105]. In this Order, Chief Judge Whitney instructed the

Clerk to “use reasonable efforts to locate a volunteer lawyer to assist Plaintiff

at trial pursuant to” the Court’s Prisoner Assistance Program (“PAP”). [Doc.




1   On April 24, 2020, this matter was reassigned to the undersigned.


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105 at 46]. The Plaintiff agreed to participate in the PAP on March 24, 2020.

[Doc. 107].

      There is no absolute right to the appointment of counsel in civil actions

such as this one. The mere fact that the Plaintiff’s case is proceeding to trial

does not constitute “exceptional circumstances” warranting the appointment

of counsel. See Miller v. Simmons, 814 F.2d 962, 966 (4th Cir. 1987)

(holding that plaintiff must present “exceptional circumstances” in order to

justify appointment of attorney). The Court previously instructed the Clerk to

make “reasonable efforts” to locate an attorney to represent him at trial.

[Doc. 105 at 46]. Having made such efforts, the Clerk of Court has been

unable to located such volunteer attorney to represent the Plaintiff.

Additionally, effective June 9, 2020, the Court has suspended the PAP until

further notice because of the lack of availability of volunteer attorneys. [See

Misc. Case No. 3:19-mc-00013, Doc. 4]. Accordingly, the Plaintiff will be

required to proceed to trial pro se.

      The Court notes that both the Plaintiff and the remaining Defendants

Branch and Whitlock have requested a jury trial in this matter. [See Docs.

62, 81]. The ongoing COVID-19 pandemic has made the scheduling of jury

trials within this District increasingly difficult.   The parties are therefore

advised that if they wish to proceed with a trial by jury, such trial is not likely


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to occur before January 2021. If, however, the parties unanimously agree to

waive their right to a jury, the Court would be able to hold a non-jury (bench)

trial during the September 2020 term. The Court will allow the parties

fourteen (14) days from the entry of this Order to advise how they wish to

proceed.

      IT IS, THEREFORE, ORDERED that the Plaintiff will be required to

proceed to trial pro se.

      IT IS FURTHER ORDERED that, within fourteen (14) days of the entry

of this Order, the parties shall advise the Court in writing as to whether they

agree to waive their right to a jury trial in this matter.

      IT IS SO ORDERED.
                                      Signed: June 9, 2020




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